Case 2:19-cv-02373-JTF-tmp Document 27 Filed 07/01/19 Page 1 of 1         PageID 108


                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION

JOHN COE,

       Plaintiff,

v.                                                    Case No. 2:19-cv-02373-JTF-tmp

RHODES COLLEGE,

       Defendant.


                                   JUDGMENT

        DECISION BY COURT. This action came for consideration before the Court. The
issues have been duly considered, and a decision has been rendered.

      IT IS ORDERED AND ADJUDGED that this action is dismissed in accordance with the
Order of Dismissal with Prejudice entered by this Court on July 1, 2019. (ECF No. 26.)




APPROVED:

s/John T. Fowlkes, Jr.                              THOMAS M. GOULD
JOHN T. FOWLKES, JR.                                CLERK
UNITED STATES DISTRICT JUDGE

July 1, 2019                                        s/Devon C. Muse
DATE                                                (BY)LAW CLERK
